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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 17-61051-CIV-ALTONAGA/Goodman


  ABS-CBN CORPORATION, et al.,

         Plaintiffs,
  v.

  ABSCBN-TELESERYE.COM, et al.,

        Defendants.
  _________________________________/

                                               ORDER

         THIS CAUSE came before the Court on Plaintiffs, ABS-CBN Corporation; ABS-CBN

  Film Productions, Inc. d/b/a Star Cinema; and ABS-CBN International’s Motion for Final

  Default Judgment [ECF No. 39], filed December 21, 2017. Plaintiffs seek entry of a default

  final judgment pursuant to Federal Rule of Civil Procedure 55(b) against Defendants, the

  Individuals, Partnerships, and Unincorporated Associations identified on Schedule A that

  operate websites that promote and perform pirated content using infringements of Plaintiffs’

  trademarks.   (See generally id.).    Plaintiffs request the Court: (1) enjoin Defendants from

  offering services that infringe their trademarks; (2) enjoin Defendants from infringing their

  copyrighted content; (3) disable, or at Plaintiffs’ election, transfer the domain names at issue to

  Plaintiffs; and (4) award statutory damages. (See generally id.).

         A Clerk’s Default [ECF No. 36] was entered against Defendants on September 22, 2017,

  after Defendants failed to respond to the Complaint [ECF No. 1], despite having been served.

  (See Proofs of Service [ECF Nos. 33 & 34]). The Court has carefully considered the Motion, the

  record, and applicable law.
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                                       I.       BACKGROUND1

      A. Factual Background

      Plaintiff ABS-CBN International is the registered owner of the following trademarks

  registered on the Principal Register of the United States Patent and Trademark Office

  (collectively, the “ABS-CBN Registered Marks”):

                      Registration          Registration
       Trademark       Number                  Date                    Class/Services
                                                            IC 036 – telephone calling card
                                                            services

                                                            IC 038 – Television broadcasting
       ABS-CBN          2,334,131       March 28, 2000      services via satellite and cable
                                                            IC 038 – Television broadcasting
                                                            services via satellite and cable

                                                            IC 041 – Production and
                                                            programming of television shows,
                                                            entertainment and a variety of
                                                            programming distributed over
                                                            television, satellite and via a global
           TFC          3,733,072           Jan. 5, 2010    computer network

  (See Decl. of Elisha J. Lawrence [ECF No. 6-1] ¶ 5). The ABS-CBN Registered Marks are used

  in connection with the creation and distribution of quality entertainment content in the categories

  identified above. (See id.)

         Plaintiff ABS-CBN International is also the owner of all rights in and to the following

  common law trademark (the “ABS-CBN Common Law Mark”):


                                                Trademark




  1
   The factual background is taken from the Complaint, the Motion, and supporting Declarations submitted
  by Plaintiffs.


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  (See Lawrence Decl. ¶ 6). The ABS-CBN Common Law Mark is used in connection with the

  creation and distribution of quality entertainment content. (See id. ¶¶ 6–7). Together, the ABS-

  CBN Registered Marks and the ABS-CBN Common Law Mark are referred to as the “ABS-

  CBN Marks.” (See id. ¶ 6). Plaintiffs share exclusive rights in and to the ABS-CBN Marks.

  (See id.). Moreover, Plaintiffs are all licensed to use and enforce the ABS-CBN Marks. (See id.)

          Plaintiff ABS-CBN Film Productions, Inc. is the owner of the registered copyrights in

  and to the movies specifically identified in the attachment labeled Exhibit 2 to the Complaint2

  [ECF No. 1-3]. Moreover, Plaintiff ABS-CBN Corporation is the owner of many unregistered

  copyrights, including but not limited to those specifically identified in paragraph 26 of the

  Complaint and in Exhibit 4 thereto [ECF No. 1-5]. (See Lawrence Decl. ¶ 4.) Collectively, these

  registered and unregistered copyrighted works are referred to herein as the “Copyrighted

  Works.”    (See id.).   ABS-CBN Corporation, ABS-CBN Film Productions, and ABS-CBN

  International all share exclusive rights in and to the Copyrighted Works. (See id.)

          As part of its ongoing investigation regarding the infringement of its intellectual property,

  on behalf of Plaintiffs, Stephen M. Gaffigan, P.A. performed an investigation into the advertising

  accounts used by Defendants. (See Decl. of Christine Ann Daley [ECF No. 6-2] ¶¶ 2–5.). By

  inspecting the Hyper Text Markup Language (“html”) Source Code for the Internet websites

  operating under the Subject Domain Names, Stephen M. Gaffigan, P.A. was able to specifically

  locate and identify many of the advertising revenue accounts of the Defendants, which are

  identified on Schedule “B,” along with Defendants’ associated e-mail addresses as identified in

  2
   While this Exhibit is labeled Exhibit 2 to the Complaint, it is the third attachment to the Complaint.
  Exhibit 3 to the Complaint is the fourth attachment; Exhibit 4 to the Complaint is the fifth attachment;
  Exhibit 5 to the Complaint is the sixth attachment.
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  the publicly available domain name registration data for Defendants. (See Daley Decl. ¶¶ 3, 5 &

  n.3; see also Ex. 23 [ECF No. 6-4] and Composite Ex. 3 [ECF No. 6-5]).Plaintiffs’

  representative, Elisha J. Lawrence, reviewed and visually inspected Defendants’ websites,

  including the web page captures reflecting Plaintiffs’ Copyrighted Works being distributed and

  performed using infringements of the ABS-CBN Marks via Defendants’ websites operating

  under the fully accessible Internet websites operating under various domain names4 (the “Subject

  Domain Names”), and determined the distribution services offered were non-genuine,

  unauthorized distribution services of pirated copies of Plaintiffs’ Copyrighted Works. (See

  Lawrence Decl. ¶¶ 13–15). Based on their investigation, Plaintiffs allege Defendants have

  advertised, promoted, distributed, and performed ABS-CBN’s copyrighted works for instant

  streaming and used ABS-CBN’s trademarks without authorization within this district through

  various Internet websites operating under their individual, partnership, and/or unincorporated

  association names without authorization, and have profited from such use via advertising services

  within their websites. (See id.; see also Compl., Exs. 3 and 4 [ECF Nos. 1-4 & 1-5]; Daley Decl.,

  Ex. 1 [ECF No. 6-3], Daley Decl., Ex. 3 [ECF No. 6-5]; Decl. of Christine Ann Daley in Supp.

  of Pls.’ Suppl. Br. (“Suppl. Daley Decl.”) [ECF No. 16-2], Suppl. Daley Decl., Composite Ex. 2

  [ECF No. 16-4], and Suppl. Daley Decl., Ex. 4 [ECF No. 16-6]). Defendants are not now, nor

  have they ever been, authorized or licensed to use, reproduce, or make counterfeits,

  reproductions, or colorable imitations of the ABS-CBN Marks or distribute or perform the ABS-




  3
   Exhibits to the Daley Declaration are labeled beginning Exhibit 1, which is the third attachment to the
  Plaintiff’s Motion for Temporary Restraining Order, Preliminary Injunction and Order Restraining
  Transfer of Assets [ECF No. 6].

  4The complete list of websites, attached as Schedule A to the Motion, includes 32 domain names.

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  CBN Copyrighted Works. (See Lawrence Decl. ¶¶ 13–15; see also Decl. of Elisha J. Lawrence in

  Supp. of Pls.’ Suppl. Br. (“Suppl. Lawrence Decl.”) [ECF No. 16-1] ¶¶ 5–6).

     B. Procedural Background

         On May 26, 2017, Plaintiffs filed their Complaint against Defendants. On May 30, 2017,

  Plaintiffs filed their Ex Parte Application for Temporary Restraining Order, Preliminary

  Injunction, and Order Restraining Transfer of Assets. On June 19, 2017, Plaintiffs filed their

  Supplemental Brief to Add Domains to Plaintiffs' Application for Preliminary Injunction [ECF

  No. 16]. On June 2, 2017, the Court granted the Application for Temporary Restraining Order,

  entered on June 5, 2017 (see Order [ECF No. 9]), which the Court subsequently converted into a

  Preliminary Injunction [ECF No. 20] June 22, 2017.

         On August 9, 2017, Plaintiffs filed their Motion for Order Authorizing Alternate Service

  of Process [ECF No. 23]. On August 10, 2017, the Court entered an Order [ECF No. 24],

  granting the Motion for Alternate Service. In accordance with the August 9, 2017 Order,

  Plaintiffs served each Defendant with a Summons and copy of the Complaint via electronic mail

  and publication on August 17, 2017. (See Decl. of Christine Ann Daley in Supp. of Pls.’ Mot.

  for Entry of Final J. (“Final J. Daley Decl.”) [ECF No. 39-1] ¶ 6). Plaintiffs filed the Proofs of

  Service as to Defendants on September 21, 2017. (See Proofs of Service).

         Defendants failed to file an answer or other response, and the time allowed for

  Defendants to respond to the Complaint has expired. (See Final J. Daley Decl. ¶ 7). To

  Plaintiffs’ knowledge, Defendants are not infants or incompetent persons, and the

  Servicemembers Civil Relief Act does not apply. (See id. ¶¶ 9–10). On September 21 2017,

  Plaintiffs filed their Request for Clerk’s Entry of Default [ECF No. 35]. After a Clerk’s Default




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  was entered on September 22, 2017, Plaintiffs filed their Notice of Joint Liability [ECF No. 38],

  and now move for default final judgment against Defendants. (See generally Mot.).

                                     II.     LEGAL STANDARD

          Pursuant to Federal Rule of Civil Procedure 55(b)(2), the Court is authorized to enter a

  final judgment of default against a party who has failed to plead in response to a complaint. See

  FED . R. C IV. P. 55(b)(2). The entry of default constitutes an admission by a defendant of the

  well-pleaded allegations in the Complaint. See Cancienne v. Drain Master of S. Fla., Inc.,

  No. 08-61123-CIV, 2008 WL 5111264, at *1 (S.D. Fla. Dec. 3, 2008) (citing Cotton v. Mass.

  Mut. Life Ins. Co., 402 F.3d 1267, 1277–78 (11th Cir. 2005)). But a defendant’s default “does

  not in itself warrant . . . entering a default judgment.” Goldman v. HSBC Bank USA, Nat’l Ass’n,

  No. 13-81271-CIV, 2015 WL 1782241, at *1 (S.D. Fla Mar. 24, 2015) (alteration in original;

  internal quotation marks omitted) (quoting Nishimatsu Constr. Co. v. Houston Nat’l Bank, 515

  F.2d 1200, 1206 (5th Cir. 1975)). Because a defendant is not held to admit facts that are not well

  pleaded or to admit conclusions of law, the Court must first determine whether there is a

  sufficient basis in the pleading for judgment to be entered. See id.; see also Buchanan v.

  Bowman, 820 F.2d 359, 361 (11th Cir. 1987) (“[L]iability is well-pled in the complaint, and is

  therefore established by the entry of default . . . .” (alterations added; citation omitted)).

                                           III.    ANALYSIS

      A. Claims

          Plaintiffs seek a default judgment for the relief sought in the Complaint, asserting the

  following claims against Defendants: (1) trademark counterfeiting and infringement under

  section 32 of the Lanham Act, 15 U.S.C. section 1051 et seq., in violation of 15 U.S.C.

  section 1114 (“Claim 1”); (2) false designation of origin under section 43(a) of the Lanham Act,

  in violation of 15 U.S.C. section 1125(a) (“Claim 2”); (3) cybersquatting under 15 U.S.C. section
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  1125(d) (“Claim 3”); (4) unfair competition under Florida common law (“Claim 4”); (5)

  trademark infringement under Florida common law (“Claim 5”); (6) direct infringement of

  copyright (“Claim 6”) under and (7) contributory infringement of copyright (“Claim 7”) was

  under the Copyright Act, 17 U.S.C. section 106. (See Compl. ¶¶ 46–123).

                1.       Counterfeiting and Infringement

         Section 32 of the Lanham Act, 15 U.S.C. section 1114, provides liability for trademark

  infringement if, without the consent of the registrant, a defendant uses “in commerce any

  reproduction, counterfeit, copy, or colorable imitation of a registered mark . . . which . . . is

  likely to cause confusion, or to cause mistake, or to deceive.”          15 U.S.C. § 1114(1)(a)

  (alterations added).    To prevail on its trademark infringement claim, Plaintiffs must

  demonstrate “(1) that it had prior rights to the mark at issue and (2) that the defendant had

  adopted a mark or name that was the same, or confusingly similar to its mark, such that

  consumers were likely to confuse the two.” Planetary Motion, Inc. v. Techsplosion, Inc., 261

  F.3d 1188, 1193 (11th Cir. 2001) (footnote call number and citations omitted).

                2.       False Designation of Origin

         The test for liability for false designation of origin under 15 U.S.C. section 1125(a) is the

  same as for a trademark counterfeiting and infringement claim — i.e., whether the public is

  likely to be deceived or confused by the similarity of the marks at issue. See Two Pesos, Inc. v.

  Taco Cabana, Inc., 505 U.S. 763, 780 (1992) (Stevens, J., concurring in the judgment).

                3.       Cybersquatting

         The Anticybersquatting Consumer Protection Act (“ACPA”) protects the owner of a

  distinctive or famous trademark from another’s bad faith intent to profit from the trademark

  owner’s mark by registering or using a domain name which is identical or confusingly similar to,



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  or dilutive of, the trademark owner’s mark without regard to the goods or services of the parties.

  See 15 U.S.C. section 1125(d). “To prevail under the ACPA, a plaintiff must prove that (1) its

  mark is distinctive or famous and entitled to protection; (2) the defendant’s domain name is

  identical or confusingly similar to the plaintiff’s mark; and (3) the defendant registered or used

  the domain name with a bad faith intent to profit.” Bavaro Palace, S.A. v. Vacation Tours, Inc.,

  203 F. App’x 252, 256 (11th Cir. 2006) (citing Shields v. Zuccarini, 254 F.3d 476, 482 (3d Cir.

  2001)).

                   4.     Common Law Unfair Competition

            Whether a defendant’s use of a plaintiff’s trademarks created a likelihood of confusion

  between the plaintiff’s and the defendant’s products is also the determining factor in the analysis

  of unfair competition under the common law of Florida. See Rolex Watch U.S.A., Inc. v.

  Forrester, No. 83-8381-CIV, 1986 WL 15668, at *3 (S.D. Fla. Dec. 9, 1986).

                   5.     Common Law Trademark Infringement

            The analysis of liability for Florida common law trademark infringement is the same as

  the analysis of liability for trademark infringement under section 32(a) of the Lanham Act. See

  PetMed Express, Inc. v. MedPets.Com, Inc., 336 F. Supp. 2d 1213, 1217–18 (S.D. Fla. 2004).

                   6.     Direct Infringement of Copyright

            To prevail on a claim of direct infringement of copyright pursuant to the Copyright Act,

  17 U.S.C. section 106, Plaintiffs must “satisfy two requirements to present a prima facie case of

  direct [copyright] infringement: (1) they must show ownership of the allegedly infringed material

  and (2) they must demonstrate that the alleged infringers violate at least one exclusive right

  granted to copyright holders under 17 U.S.C. [section] 106.” A&M Records, Inc. v. Napster,

  Inc., 239 F.3d 1004, 1013 (9th Cir. 2001) (alterations added). See also Disney Enters. v. Hotfile



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  Corp., Case No. 11-20427-CIV-Williams, 2013 U.S. Dist. LEXIS 172339, at *94 (S.D. Fla.

  2013).

                 7.      Contributory Infringement of Copyright

           To establish a cause of action for secondary (contributory) infringement of copyright, a

  plaintiff must establish: (1) direct infringement; (2) that defendant had knowledge of the direct

  infringement; and (3) that defendant intentionally induced, encouraged or materially contributed

  to the direct infringement. See Tiffany (NJ), LLC v. Liu Dongping, No. 10-61214-CIV, 2010 WL

  4450451, at *5 n.1 (S.D. Fla. Oct. 29, 2010) (citations omitted).

     B. Liability

           The well-pleaded factual allegations of Plaintiffs’ Complaint properly contain the

  elements for each of the above claims and are admitted by virtue of Defendants’ defaults. (See

  Compl. ¶¶ 3–5, 36–73, 78–79, 86–89, 94–95, 99–101, 104–108, 116–123).             Moreover, the

  Complaint’s factual allegations have been substantiated by sworn declarations and other

  evidence and establish Defendants’ liability for each of the claims asserted. Accordingly, default

  judgment pursuant to Rule 55 of the Federal Rules of Civil Procedure is appropriately entered

  against Defendants.

     C. Relief

           Plaintiffs request an award of equitable relief and monetary damages against all

  Defendants for trademark infringement in Claim 1. (See Compl. 32–35). Additionally, Plaintiffs

  request an award of equitable relief and monetary damages against only Defendant Number 1 for

  cybersquatting in Claim 3. (See id. ¶¶ 99–108). Finally, Plaintiffs request an award of equitable

  relief and monetary damages against Defendant Number 3, Defendant Number 4, and Defendant

  Number 14 for direct infringement of copyright. (See id. ¶¶ 119–30). The Court analyzes



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   Plaintiffs’ requests for relief as to Claim 1, Claim 3, and Claim 6 only, as the judgment for

   Claims 2, 4, and 5 — false designation of origin, common law unfair competition, and common

   law trademark infringement — is limited to entry of the requested equitable relief for Claim 1.

   (See generally Mot.).

          Injunctive Relief. Pursuant to the Lanham Act, a district court is authorized to issue an

   injunction “according to the principles of equity and upon such terms as the court may deem

   reasonable,” to prevent violations of trademark law. 15 U.S.C. § 1116(a). Indeed, “[i]njunctive

   relief is the remedy of choice for trademark and unfair competition cases, since there is no

   adequate remedy at law for the injury caused by a defendant’s continuing infringement.” Burger

   King Corp. v. Agad, 911 F. Supp. 1499, 1509–10 (S.D. Fla. 1995) (alteration in original; internal

   quotation marks omitted) (quoting Century 21 Real Estate Corp. v. Sandlin, 846 F.2d 1175, 1180

   (9th Cir. 1988)). Injunctive relief is available even in the default judgment setting, see, e.g.,

   PetMed Express, 336 F. Supp. 2d at 1222–23, since Defendants’ failure to respond or otherwise

   appear makes it difficult for Plaintiffs to prevent further infringement absent an injunction, see

   Jackson v. Sturkie, 255 F. Supp. 2d 1096, 1103 (N.D. Cal. 2003) (“[D]efendant’s lack of

   participation in this litigation has given the court no assurance that defendant’s infringing

   activity will cease. Therefore, plaintiff is entitled to permanent injunctive relief.” (alteration

   added)).

          Permanent injunctive relief is appropriate where a plaintiff demonstrates: (1) it has

   suffered irreparable injury; (2) there is no adequate remedy at law; (3) the balance of hardship

   favors an equitable remedy; and (4) an issuance of an injunction is in the public’s interest. See

   eBay, Inc. v. MercExchange, LLC, 547 U.S. 388, 391–92 (2006). Plaintiffs have carried their

   burden on each of the four factors.



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          Specifically, in trademark cases, “a sufficiently strong showing of likelihood of confusion

   [caused by trademark infringement] may by itself constitute a showing of . . . a substantial threat

   of irreparable harm.” E. Remy Martin & Co., S.A. v. Shaw-Ross Int’l Imps., Inc., 756 F.2d

   1525, 1530 (11th Cir. 1985) (alterations added; footnote call number omitted); see also Levi

   Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 986 (11th Cir. 1995) (“There is no

   doubt that the continued sale of thousands of pairs of counterfeit jeans would damage [the

   plaintiff’s] business reputation and decrease its legitimate sales.” (alteration added)). Plaintiffs’

   Complaint alleges, and the submissions show, the illegal services advertised and offered by

   Defendants are nearly identical to Plaintiffs’ genuine services, and consumers viewing

   Defendants’ counterfeit services would actually confuse them for Plaintiffs’ genuine services.

   (See Compl. ¶ 54 (“The net effect of Defendants’ actions will cause confusion of consumers . . .

   who will believe Defendants’ websites are legitimate, authorized distributors of ABS-CBN’s

   Copyrighted Works or are authorized and/or approved by ABS-CBN.” (alteration added))).

          Plaintiffs have no adequate remedy at law so long as Defendants continue to operate the

   Subject Domain Names because Plaintiffs cannot control the quality of what appears to be their

   services in the marketplace. (See id. ¶¶ 86, 87, 112, 117). An award of monetary damages alone

   will not cure the injury to Plaintiffs’ reputation and goodwill if Defendants’ infringing and

   counterfeiting actions are allowed to continue. Moreover, Plaintiffs face hardship from loss of

   sales and their inability to control their reputation in the marketplace. By contrast, Defendants

   face no hardship if they are prohibited from the infringement of Plaintiffs’ trademarks and

   copyrighted content. Finally, the public interest supports the issuance of a permanent injunction

   against Defendants to prevent consumers from being misled by Defendants’ services, and

   potentially harmed by their inferior quality. See Nike, Inc. v. Leslie, No. 85-960-CIV-T-15, 1985



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   WL 5251, at *1 (M.D. Fla. June 24, 1985) (“[A]n injunction to enjoin infringing behavior serves

   the public interest in protecting consumers from such behavior.” (alteration added)); see also

   World Wrestling Entm’t, Inc. v. Thomas, No. 12-21018-CIV, 2012 WL 12874190, at *8 (S.D.

   Fla. Apr. 11, 2012) (considering the potential for harm based on exposure to potentially

   hazardous counterfeit merchandise in analyzing public’s interest in an injunction). Further, the

   public interest supports the issuance of a permanent injunction because Plaintiffs lose valuable

   incentives to continue to create programming if they continue to be deprived of (1) control over

   their copyrighted content, (2) how and where the copyrighted content gets distributed, including

   Internet retransmissions through negotiated licenses and their portals, and (3) potential revenue

   sources. Protecting Plaintiffs’ rights is consistent with promoting the public interest. See Salinger

   v. Colting, 607 F.3d 68 (2d Cir. 2010); CBS Broad., Inc. v. EchoStar Communs. Corp., 265 F.3d

   1193, 1198 (11th Cir. 2001) (“the public interest lies with protecting the rights of copyright

   owners”); C.B. Fleet Co. v. Unico Holdings, Inc., 510 F. Supp. 2d 1078, 1084 (S.D. Fla. 2007)

   (“The public interest can only be served by upholding copyright protection and preventing the

   misappropriation of protected works.”)

          The Court’s broad equity powers allow it to fashion injunctive relief necessary to stop

   Defendants’ infringing activities. See, e.g., Swann v. Charlotte-Mecklenburg Bd. of Educ., 402

   U.S. 1, 15 (1971) (“Once a right and a violation have been shown, the scope of a district court’s

   equitable powers to remedy past wrongs is broad, for . . . . [t]he essence of equity jurisdiction has

   been the power of the Chancellor to do equity and to mould [sic] each decree to the necessities of

   the particular case.” (alterations added; citation and internal quotation marks omitted)); United

   States v. Bausch & Lomb Optical Co., 321 U.S. 707, 724 (1944) (“Equity has power to eradicate

   the evils of a condemned scheme by prohibition of the use of admittedly valid parts of an invalid



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   whole.” (citations omitted)). District courts are expressly authorized to order the transfer or

   surrender of domain names in an in rem action against a domain name.                See 15 U.S.C.

   §§1125(d)(1)(C), (d)(2). Yet, courts have not limited the remedy to that context. See, e.g.,

   Philip Morris USA v. Otamedia Ltd., 331 F. Supp. 2d 228, 230 & n.2 (S.D.N.Y. 2004)

   (transferring Yesmoke.com domain name to plaintiff despite the fact that plaintiff did not own a

   trademark in the term “Yesmoke” and noting that 15 U.S.C. section 1125 “neither states nor

   implies that an in rem action against the domain name constitutes the exclusive remedy for a

   plaintiff aggrieved by trademark violations in cyberspace”); Ford Motor Co. v. Cross, 441 F.

   Supp. 2d 837, 853 (E.D. Mich. 2006) (ordering the defendants to disclose all other domain

   registrations held by them and to transfer registration of a particular domain name to plaintiff in

   part under authority of 15 U.S.C. section 1116(a)).

          Defendants have created an Internet-based counterfeiting and infringing scheme in which

   they are profiting from their deliberate misappropriation of Plaintiffs’ rights. Accordingly, the

   Court may fashion injunctive relief to eliminate the means by which Defendants are conducting

   their unlawful activities. Ordering the cancellation or transfer of the Subject Domain Names to

   Plaintiffs, where they may be disabled from further use as platforms for the infringement of

   Plaintiffs’ intellectual property rights, is appropriate to achieve this end. Many courts have not

   hesitated to order the transfer of domain names when faced with factual scenarios like this one.5


   5
     See e.g., Chanel, Inc. v. 4sreplicachanel.com, No. 17-cv-61838-CMA (S.D. Fla. Nov. 9, 2017), Final
   Default Judgment and Permanent Injunction [ECF No. 34] (awarding transfer of domain name at issue as
   part of grants of permanent injunction); Tiffany (NJ) LLC v. tiffanyloveyou.com, No. 17-cv-60594-CMA
   (S.D. Fla. June 8, 2017), Final Default Judgment and Permanent Injunction [ECF No. 33] (same). See
   also Under Armour, Inc. v. 51nfljersey.com, No. 13-62809-CIV, 2014 WL 1652044 (S.D. Fla. Apr. 23,
   2014), Final Default Judgment and Permanent Injunction [ECF No. 38] (same); Chanel, Inc. v.
   7perfecthandbags.com, No. 12-22057-CIV, 2014 WL 352197 (S.D. Fla. Jan. 31, 2014), Order Granting
   Plaintiff’s Fourth Motion for Entry of Final Default Judgment [ECF No. 211] (same); ABS-CBN
   Corporation v. Movieonline.io, No. 17-cv-61803-BB (S.D. Fla. Nov. 29, 2017, entered on docket Nov.
   30, 2017), Final Default Judgment and Permanent Injunction [ECF No. 46] (same).
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          Statutory Damages. In a case involving the use of counterfeit marks in connection with

   the sale, offering for sale, or distribution of goods, 15 U.S.C. section 1117(c) provides that a

   plaintiff may elect an award of statutory damages at any time before final judgment is rendered

   in the sum of not less than $1,000.00 nor more than $200,000.00 per counterfeit mark per type of

   good. See 15 U.S.C. section 1117(c)(1).        In addition, if the Court finds that Defendants’

   counterfeiting actions were willful, it may impose damages above the maximum limit up to

   $2,000,000.00 per mark per type of good. See id. § 1117(c)(2).

          The Court has wide discretion to determine the amount of statutory damages.             See

   PetMed Express, Inc., 336 F. Supp. 2d at 1219 (citations omitted). An award of statutory

   damages is appropriate despite a plaintiff’s inability to prove actual damages caused by a

   defendant’s infringement. See Ford Motor Co. v. Cross, 441 F. Supp. 2d 837, 852 (E.D. Mich.

   2006) (“[A] successful plaintiff in a trademark infringement case is entitled to recover enhanced

   statutory damages even where its actual damages are nominal or non-existent.” (alteration added;

   citations omitted)); Playboy Enters., Inc. v. Universal Tel-A-Talk, Inc., No. CIV-A-96-6961,

   1998 WL 767440, at *8 (E.D. Pa. Nov. 3, 1998) (awarding statutory damages where plaintiff

   failed to prove actual damages or profits). Indeed, the option of a statutory damages remedy in

   trademark counterfeiting cases is sensible given evidence of a defendant’s profits in such cases is

   frequently almost impossible to ascertain. See, e.g., S. Rep. No. 104-177, pt. V § 7, at 10 (1995)

   (discussing purposes of Lanham Act statutory damages); see also PetMed Express, Inc., 336 F.

   Supp. 2d at 1220 (statutory damages are “[e]specially [sic] appropriate in default judgment cases

   due to infringer nondisclosure” (alteration added; citations omitted)). This case is no exception.

          Here, the allegations of the Complaint and the evidence establish Defendants

   intentionally copied one or more of the ABS-CBN Marks for the purpose of deriving the benefit



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   of Plaintiffs’ world-famous reputation. Defendants have defaulted on Plaintiffs’ allegations of

   willfulness. (See Compl. ¶ 61; see also Arista Records, Inc. v. Beker Enters., Inc., 298 F. Supp.

   2d 1310, 1313 (S.D. Fla. 2003) (finding a court may infer willfulness from the defendants’

   default) (citation omitted); see also PetMed Express, Inc., 336 F. Supp. 2d at 1217 (stating that

   upon default, well plead allegations are taken as true)). As such, the Lanham Act permits the

   Court to award up to $2,000,000.00 per infringing mark on each type of good as statutory

   damages to ensure Defendants do not continue their intentional and willful counterfeiting

   activities.

           The only available evidence in this case demonstrates Defendants promoted, offered,

   advertised, at least one (1) type of service – content distribution services – using marks which were,

   in fact, infringements of, at least, one of the ABS-CBN Marks protected by two federal trademark

   registrations. (See Compl. ¶¶ 39, 78–79, 86–89, 94–95, 99–101 and Schedule B annexed thereto;

   Lawrence Decl. ¶¶ 12–15). Based on the above considerations, Plaintiffs have asked the Court

   to begin with a baseline statutory minimum award of $100,000.00 per trademark infringed, treble

   that amount in light of Defendants’ willful infringement, and again double it for purposes of

   deterrence. (See Mot. 14–16).

           The Court agrees with Plaintiffs that $100,000.00, trebled for willful conduct and

   doubled for deterrence — thus, $600,000.00 — is a reasonable statutory baseline. See ABS-CBN

   Corporation v. Pinoy-ako.info, No. 14-cv-61613-BB (S.D. Fla. Feb. 11, 2015) [ECF No. 43]

   (awarding $1,200,000.00 per trademark infringed (two) per type of services offered (one), for a total

   award amount of $2,400,000.00); ABS-CBN Corporation, et al. v. Phnoy.com, No. 14-cv-61710-

   JIC (S.D. Fla. Dec. 16, 2014) [ECF No. 19] (awarding $1,200,000.00 per trademark infringed

   (four) per type of services offered (one), resulting in a total award of $4,800,000.00). Therefore,



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   the proper measure of damages is $600,000.00 multiplied by the number of types of services

   Defendants sold (one) and the number of trademarks infringed (two).              (See Mot. 14).

   Accordingly, Plaintiffs are entitled to $1,200,000.00 in statutory damages for which Defendants

   are jointly and severally liable. Plaintiffs alleged in its Complaint that Defendants acted in

   coordination to individually and jointly cause unquantifiable damages to Plaintiffs. (See Compl.

   ¶¶ 58–59). The award should be sufficient to deter Defendants and others from continuing to

   counterfeit or otherwise infringe Plaintiffs’ trademarks, compensate Plaintiffs, and punish

   Defendants, all stated goals of 15 U.S.C. section 1117(c). The Court finds that this award of

   statutory damages is just.

          Plaintiffs’ Complaint also sets forth a cause of action for cybersquatting pursuant to the

   ACPA, 15 U.S.C. section 1125(d) against Defendant Number 1. As admitted by the default, and

   established by the evidence submitted, Defendant Number 1 has acted with the bad faith intent to

   profit from the ABS-CBN Marks and the goodwill associated with the ABS-CBN Marks by

   registering the domain name “abscbn-teleserye.com,” which is identical, confusingly similar to,

   or dilutive of the ABS-CBN Marks (the “abscbn-teleserye.com domain name”). (See Compl. ¶¶

   63–68, 100–105; see also Mot. 14).       The abscbn-teleserye.com domain name incorporates

   Plaintiffs’ trademark “ABS-CBN,” registration number 2,334,131, in its entirety surrounded by a

   descriptive term, rendering the domain name nearly identical to Plaintiffs’ trademark.

          Upon a finding of liability, the ACPA expressly empowers the Court to “order the

   forfeiture or cancellation of the domain name or the transfer of the domain name to the owner of

   the mark.” 15 U.S.C. section 1125(d)(1)(C); Victoria’s Cyber Secret Ltd. P’ship v. Secret

   Catalogue, Inc., 161 F. Supp. 2d 1339, 1356 (S.D. Fla. 2001). Accordingly, Plaintiffs are

   entitled to the transfer and ownership of Defendant Number 1’s abscbn-teleserye.com domain



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   name because it is confusingly similar to Plaintiffs’ ABS-CBN Mark, registration number

   2,334,131.

          Additionally, Plaintiffs may elect at any time before final judgment to recover actual

   damages or statutory damages of not less than $1,000.00 and not more than $100,000.00 per

   domain name, as the court considers just. 15 U.S.C. § 1117(d). Plaintiffs have elected statutory

   damages and request in view of Defendant Number 1’s intentional, wrongful behavior, an award

   in the amount of $10,000.00 for the abscbn-teleserye.com domain name. See Taverna Opa

   Trademark Corp. v. Ismail, No. 08-20776-CIV, 2010 WL 1838384, at *3 (S.D. Fla. May 6,

   2010) (awarding $10,000.00 in statutory damages for domain name at issue). The Court finds

   this amount is just.

          Plaintiffs’ Complaint further sets forth a cause of action for direct infringement of

   copyright pursuant to 17 U.S.C. section 504. Title 17, U.S.C. section 504(c) provides that a

   copyright owner may elect an award of statutory damages at any time before final judgment is

   rendered in the sum of not less than $750 or more than $30,000.00 as the court considers just. 17

   U.S.C. § 504(c)(1). In addition, if the Court finds that Defendant’s copyright infringement was

   willful, it may impose damages above the maximum limit up to a sum of not more than

   $150,000.00. See id.

          The Court has wide discretion to set an amount of statutory damages. See Tiffany (NJ),

   LLC, 2010 WL 4450451. An award of statutory damages is appropriate, because statutory

   damages may be elected whether or not there is adequate evidence of the actual damages

   suffered by plaintiff or of the profits reaped by the Defendant. See Harris v. Emus Records

   Corp., 734 F.2d 1329, 1335 (9th Cir. 1984).

          A rule of liability which merely takes away the profits from an infringement
          would offer little discouragement to infringers. It would fall short of an effective

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          sanction for enforcement of the copyright policy. The statutory rule, formulated
          after long experience, not merely compels restitution of profit and reparation for
          injury but also is designed to discourage wrongful conduct. The discretion of the
          court is wide enough to permit a resort to statutory damages for such purposes.

   F. W. Woolworth Co. v. Contemporary Arts, Inc., 344 U.S. 228, 233 (1952).

          Here, the allegations in the Complaint, which are taken as true, clearly establish

   Defendant Number 3, cinepinoy.lol; Defendant Number 4, cinezen.me; and Defendant Number

   14, pinastvreplay.com each intentionally infringed one of Plaintiffs’ registered Copyrighted

   Works for the purpose of deriving the benefit of the value of Plaintiffs’ content in order to drive

   viewers to their Internet websites operating under the Subject Domain Names for profit. See

   Compl. ¶¶ 104–108 and Schedule “D” annexed thereto; see also Ex. 2 to the Complaint;

   Lawrence Decl. ¶¶ 12–15. As such, the Copyright Act provides for damages in a sum of not less

   than $750.00 or more than $30,000.00 per work as the court considers just. 17 U.S.C. §

   504(c)(1). In addition, if the Court finds that Defendants’ copyright infringement was willful,

   “the court in its discretion may increase the award of statutory damages to a sum of not more

   than $150,000.00.” Id. § 504(c)(2).

          The evidence in this case demonstrates that Defendant Number 1, movieonline.io;

   Defendant Number 3, cinepinoy.lol; Defendant Number 4, cinezen.me; and Defendant Number

   14, pinastvreplay.com each infringed one registered copyright of Plaintiffs. See Ex. 2 to the

   Compl.; Ex. 4 to the Compl. [ECF No. 1-5] at pp. 11–21; 64–67. Plaintiffs suggest the Court

   award the highest award per registered work for non-willful infringement, $30,000.00, despite

   Defendants defaulting on Plaintiffs’ allegations of willfulness. (See Compl. ¶¶ 1, 5, 61, 109, 126).

   The result would be a statutory damage award of $30,000.00 against each of the above

   Defendants. The award is sufficient to deter Defendants and others from continuing to infringe

   Plaintiffs’ copyrights, compensate Plaintiffs, and punish Defendants. The Court finds that this

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   award of statutory damages falls within the permissible statutory range under 17 U.S.C. section

   504(c) and is just.

          Recovering under both the Lanham Act and the Copyright Act is appropriate in the instant

   case. Defendants herein willfully committed two wrongs, copyright infringement and trademark

   infringement, and Plaintiffs have proven violations of both statutes. “A plaintiff is entitled to a

   separate award of statutory damages under both the Copyright Act and the Lanham Act when the

   defendant simultaneously infringes a copyright and trademark.” Microsoft Corp. v. Online

   Datalink Computer, Inc., No. 07cv01165, 2008 WL 1995209, at *3 (S.D. Cal. 2008) (citing

   Nintendo of Am., Inc. v. Dragon Pac. Int’l, 40 F.3d 1007, 1011 (9th Cir. 1994)).6 “This Court

   holds that the Plaintiff’s request for statutory damages under both acts is not an impermissible

   double recovery.” Microsoft Corp. v. Tierra Computer, Inc., 184 F. Supp. 2d 1329, 1331 (N.D.

   Ga. 2001) (internal quotations marks omitted).

                                        IV.    CONCLUSION

          For the foregoing reasons, Plaintiffs are entitled to the entry of final default judgment.

   Accordingly, it is




   6
     See ABS-CBN Corp. v. Movieonline.io, No. 17-cv-61803-BB (S.D. Fla. Nov. 29, 2017, entered
   on docket Nov. 30, 2017), Final Default Judgment and Permanent Injunction [ECF No. 46]
   (awarding damages under both the Copyright Act and the Lanham Act); ABS-CBN Corp. v.
   Pinoy-ako.info, No. 14-cv-61613-BB (S.D. Fla. Feb. 11, 2015, entered on docket Feb. 12, 2015),
   Final Default Judgment and Permanent Injunction [ECF No. 43] (same); ABS-CBN Corp. v.
   Cinesilip.net, No. 17-cv-60650-RNS (same) (S.D. Fla. Jul. 10, 2017, entered on docket Jul. 11,
   2017), Final Default Judgment and Permanent Injunction [ECF No. 32] (same); ABS-CBN Corp.
   v. Dramacool.com, No. 15-cv-62651-JIC (S.D. Fla. June 8, 2016, entered on docket June 9,
   2016), Final Default Judgment [ECF No. 37] (same); ABS-CBN Corp. v. Hapitvnow.info, No. 15-
   cv-61660-KMW (S.D. Fla. Jan. 27, 2016), Final Default Judgment and Permanent Injunction
   [ECF No. 26] (same); Gaffigan v. Does 1-10, No. 09-cv-61206-JAL, (S.D. Fla. Sept. 17, 2010),
   Final Default Judgment and Permanent Injunction [ECF No. 70] (same).
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          ORDERED AND ADJUDGED that Plaintiffs’ Motion for Final Default Judgment

   Against Defendants [ECF No. 39] is GRANTED. Final judgment and a permanent injunction

   shall be entered by separate order.

          DONE AND ORDERED in Miami, Florida, this 27th day of December, 2017.




                                          ________________________________
                                          CECILIA M. ALTONAGA
                                          UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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                              SCHEDULE “A”
              DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                           Def. No.   Subject Domain Name
                                  1 abscbn-teleserye.com
                                  2 astigvideos.com
                                  3 cinepinoy.lol
                                  3 cinepinoy.ag
                                  3 pinoyflix.ag
                                  3 pinoyflix.lol
                                  4 cinezen.me
                                  5 dramascools.com
                                  6 dramasget.com
                                  8 frugalpinoytv.org
                                  9 lambingan.cn
                                10 pinoylambingan.ph
                                10 lambingan.io
                                11 lambingans.net
                                12 latestpinoymovies.com
                                13 pinasnews.net
                                14 pinastvreplay.com
                                15 pinoybay.ch
                                16 pinoychannel.me
                                17 pinoydailyshows.com
                                18 pinoyplayback.net
                                19 pinoytvshows.net
                                19 pinoytv-shows.net
                                20 rondownload.net
                                21 sarapmanood.com
                                22 tambayanshow.net
                                23 thelambingan.com
                                24 tvnijuan.org
                                25 tvtambayan.org
                                26 vianowpe.com
                                27 weeklywarning.org
                                27 weeklywarning.com




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                             SCHEDULE “B”
    DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
             INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES

      Def.   Subject Domain         Advertising          Account         Associated E-mail
      No.        Name             Service/Platform      Identifier          Address(es)
                                                       ca-pub-
                                 Google AdSense        8363670849    06zqahjcbmzc@contactpriv
        1 abscbn-teleserye.com   Google, Inc.          262616        acy.email
                                                       ca-pub-
                                 Google AdSense        8363670849    nnfnbbvqo6vh@contactpriv
        2 astigvideos.com        Google, Inc.          262616        acy.email



        3 cinepinoy.lol          N/A                   N/A           contact@privacyprotect.org


                                                                     contact@domainprivacypro
        3 cinepinoy.ag           N/A                   N/A           tect.info



        3 pinoyflix.ag           N/A                   N/A           contact@privacyprotect.org
                                                                     4a3ad9e50259ad26820080a
                                                                     38af7651a-
        3 pinoyflix.lol          N/A                   N/A           2628172@contact.gandi.net
                                 adskeeper.co.uk,                    4a3ad9e50259ad26820080a
                                 Hardware Solution     cinezen.me.   38af7651a-
        4 cinezen.me             Limited               122875        2628172@contact.gandi.net
                                                                     4a3ad9e50259ad26820080a
                                 popads.net,                         38af7651a-
        4 cinezen.me             Tomksoft S.A.         N/A           2628172@contact.gandi.net
                                                       ca-pub-
                                 Google AdSense        2367658883    payments@pakihosting.co
        5 dramascools.com        Google, Inc.          843972        m
                                 revcontent.com,                     dramasget.com@domainsb
        6 dramasget.com          Revcontent, LLC       N/A           yproxy.com

                                                       var pmauid
                                                       = '32157';
                                 popads.net,           var pmawid    thefrugalpinoytv@gmail.co
        8 frugalpinoytv.org      Tomksoft S.A.         = '30857';    m
                                 h12-media.com,
        9 lambingan.cn           H12 UK LTD            N/A           admin@nicenic.net


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      Def.   Subject Domain         Advertising            Account           Associated E-mail
      No.        Name             Service/Platform        Identifier            Address(es)
                                 adskeeper.co.uk,
                                 Hardware Solution       lambingan.i
       10 lambingan.io           Limited                 o.123723      N/A
                                 popads.net,
       10 lambingan.io           Tomksoft S.A.           N/A           N/A
                                 Redirects to
       10 pinoylambingan.ph      lambingan.io            N/A           dol...@...
                                                         ca-pub-
                                 Google AdSense          1865856426
       11 lambingans.net         Google, Inc.            290995        usaking73@gmail.com
                                                         ca-pub-       86bc3894580e4338b4ef958
          latestpinoymovies.co   Google AdSense          6712270727    efee7669a.protect@whoisg
       12 m                      Google, Inc.            944137        uard.com
                                 popads.net,
       13 pinasnews.net          Tomksoft S.A.           N/A           contact@privacyprotect.org
                                 popads.net,
       14 pinastvreplay.com      Tomksoft S.A.           N/A           contact@privacyprotect.org

       15 pinoybay.ch            N/A                     N/A           N/A
                                 revcontent.com,
       16 pinoychannel.me        Revcontent, LLC         N/A           sakhani@live.com
                                                         ca-pub-
                                 Google AdSense          6409372530    rajaraveendrareddy.peram
       17 pinoydailyshows.com    Google, Inc.            626142        @gmail.com
                                                         ca-pub-
                                 Google AdSense          1714538266
       18 pinoyplayback.net      Google, Inc.            441049        contact@privacyprotect.org
                                 Redirects to
       19 pinoytvshows.net       pinoytv-shows.net       N/A           fahimtaunsvi@gmail.com
                                                         ca-pub-
                                 Google AdSense          1677375562
       19 pinoytv-shows.net      Google, Inc.            727935        herpalasif@gmail.com
                                                         pid=413907    D6A727F1133F4661B96C
                                 bidvertiser.com,        &bid=15000    B83A5B2C9F20.PROTEC
       20 rondownload.net        Bpath, LTD.             12            T@WHOISGUARD.COM
                                                         ca-pub-       e14fcd7e4f2543eaac7ebeba
                                 Google AdSense          3102114826    f643d10e.protect@whoisgu
       21 sarapmanood.com        Google, Inc.            829472        ard.com


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      Def.   Subject Domain      Advertising         Account         Associated E-mail
      No.        Name          Service/Platform     Identifier          Address(es)
                              adnow.com,
       22 tambayanshow.net    Adnow LLP            340913        contact@privacyprotect.org
                              popads.net,
       22 tambayanshow.net    Tomksoft S.A.        N/A           contact@privacyprotect.org
                              mgid.com,
                              MGID Inc.
       23 thelambingan.com    MGID UA              N/A           apnapakforum@gmail.com
                              mgid.com,
                              MGID Inc.
       24 tvnijuan.org        MGID UA              N/A           fastchannels@gmail.com
                              mgid.com,
                              MGID Inc.                          tvtambayan.org@domainsb
       25 tvtambayan.org      MGID UA              N/A           yproxy.com
                                                   ca-pub-
                              Google AdSense       7075767950
       26 vianowpe.com        Google, Inc.         562858        johnweston772@gmail.com
                              Redirects to
       27 weeklywarning.org   weeklywarning.com    N/A           shankarr1555@gmail.com
                              popads.net,                        ultimategangster1993@gm
       27 weeklywarning.com   Tomksoft S.A.        N/A           ail.com




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